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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: m X Case No. l4-7567l (AST)
Holbrook Development Corp., Chapter ll
Debtor.
- x
NOTICE OF SETTLEMENT

 

PLEASE TAKE NOTICE, that hearing on the terms of a proposed stipulation (the
“Stipulation”) settling: (l) the objection of Holbrook Development Corp. (the “Debtor”) to the
proof of claim filed by Sanil Sikhrakar (“Claimant”) and (2) the motion filed by claimant to allow
and pay the administrative portion of the claim Will be held before the Honorable Alan S. Trust on
March 23, 2016 at 2:00 p.m. at the Long Island Federal Courthouse, 290 Federal Plaza, Room
960, Central Islip, New York.

PLEASE TAKE FURTHER NOTICE, that objections, if any, to the Stipulation, must
conform to the Bankruptcy Rules and Local Bankruptcy Rules f`or the Eastern District of New
York, as modified by any administrative orders entered in this case, and be filed With the
Bankruptcy Court electronically in accordance with General Order 461, be registered users of the
Bankruptcy Court’s filing system and, by all other parties in interest, on a 3.5 inch disk, in portable
document format (PDF), WordPerfect, Microsoft Word DOS text (ASCII) or a scanned imaged of
the filling, With a hard copy delivered directly to Chambers, and may be served in accordance With
General Order 462, and upon (i) counsel to the Debtor, Macco & Stern, LLP, 2950 Express Drive
South, Suite 109, Islandia, NeW York 11749; and (ii) the Office of the United States Trustee, 560
Federal Plaza, Central Islip, New York 11722, so as to be received no later than March 18, 2016

at 4:00 p.m.

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PLEASE TAKE FURTHER NOTICE, that a copy of the Stipulation is annexed hereto
as Exhibit A.
Dated: March 1, 2016

Islandia, NY MACCO & STERN, LLP
Attomeys for the De r-In-Possession

  
   

 

Melv e, New York 11747
(631) 549-7900

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EXHIBIT A

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No. 14-75671 (AST)
Holbrook Development Corp., Chapter ll
Debtor.

X

 

STIPULATION AND ORDER SETTLING OBJECTION TO PROOF OF CLAIM

WHEREAS, on December 24, 2014 (the “Petition Date”), Holbrook Development Corp.
(the “Debtor”) filed a voluntary petition for relief under chapter 11 of title ll of the United
States Code (the “Bankruptcy Code”); and

WHEREAS, prior to the Petition Date, the Debtor operated a gas station and
convenience store at the real property located at, and known as, 5665 Sunrise Highway,
Holbrook, New York; and

WHEREAS, prior to the Petition Date through January 2015, the Debtor employed Sanil
Sikhrakar (the “Claimant”); and

WHEREAS, on or about March 18, 2015, Claimant filed a proof of claim in the Debtor’s
bankruptcy case, assigned claim number 14, in the amount of $29,044.50, including $9,897 as a
priority unsecured claim (the “Claim”).

WHEREAS, on or about November 9, 2015, the Debtor filed an objection (the
“Objection”) to the Claim, seeking to reduce the Claim; and

WHEREAS, on or about December 24, 2015, Claimant filed opposition to the Objection;

and

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WHEREAS, on or about January 6, 2016, a hearing was held before the Court, whereby
the Debtor was directed to contact Claimant’s attorney and submit a statement of undisputed
facts as to the Claim and Objections; and

WHEREAS, on or about January 8, 2016, certain former employees of the Debtor,
including Claimant, filed a motion to allow and pay certain administrative and priority wage
claims (the “Motion”); and

WHEREAS, on or about February 3, 2016, the Debtor filed its opposition to the Motion
and statement of undisputed facts; and

WHEREAS, the Parties have engaged in informal discovery related to the Obj ection and,
in the spirit of compromise, have agreed to settle the Obj ection and the Claim.

NOW, THEREFORE, it is hereby stipulated and agreed as follows:

l. Upon the approval of the Bankruptcy Court, the Claim shall be reduced,
reclassified as follows: (1) a general unsecured claim in the amount $4,656; (2) a priority
unsecured claim in the amount of $4,656; and (3) an administrative expense claim in the amount
of $2,427.24.

2. The Claim, as reduced pursuant to paragraph l, shall be allowed against the
Debtor and shall not be subject to any defense or counterclaim, right of setoff, reduction,
avoidance, disallowance or subordination

3. The Claimant shall receive distributions on account of the Claim in the form set
forth in and pursuant to the terms of a confirmed chapter 11 plan (the “Plan”).

4. The Claimant shall vote the unsecured portion of the reduced Claim in favor of
accepting the Plan.

5. The Objection is resolved.

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6. With respect to the Claim, other than the right to receive distributions under the
Plan with respect to the Claim, the Claimant and its affiliates, successors and assigns, and its
past, present and future members, officers, directors, partners, principals, agents, insurers,
servants, employees, representatives, administrators, executors, trustee and attorneys, shall have
no further right to payment from, and are hereby barred from asserting any claims whatsoever,
whether known or unknown, asserted or not, in law or in equity, against the Debtor, its estate, or
its successors or assigns, in existence as of the date of this Stipulation and arising from or related
to the Claim. Claimant is not waiving any right or claim it may have against a separate entity
which is not a party to this agreement

7. The Debtor, its estate, and its successor or assigns, hereby releases any and all
claims or causes of action against the Claimant relating in any way to the Settlement Agreement
or other agreements between the Claimant and the Debtor.

8. This Stipulation may not be modified other than by a signed writing executed by
the Parties hereto or by order of the Court.

9. Each person who executes this Stipulation represents that he or she is fully
authorized to do so on behalf of the respective Party hereto and that each such party has full
knowledge and has consented to this Stipulation.

10. This Stipulation may be executed in counterparts and a facsimile or electronically
transmitted copy of this Stipulation shall be deemed an original

11. This Stipulation shall be governed by and construed in accordance with laws of

the United States, including the Bankruptcy Code, and the laws of the state of New York.

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12. The Bankruptcy Court shall retain exclusive jurisdiction over this Stipulation and

any and all disputes arising out of or otherwise related to the Stipulation.

Dated: Islandia, New York
March 7, 2016

By:

Dated: New York, New York
March 7, 2016

SO ORDERED:

MACCO & STERN, LLP
Attorneys for the Debtor-in-Possession

s/ Michael J. Macco

Michael J. Macco

A Member of the Firm

2950 Express Drive South, Suite 109
Islandia, New York 11749

(631) 549-7900

KAYE SCHOLER LLP
Attorneys for the Claimant

s/ Kara Neaton

Kara Neaton

250 West 55th Street

New York, New York 10019
(212) 836-7404

